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                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF ILLINOIS

ANTHONY MCNEAL                                      )
                                                    )
        Plaintiff                                   )
                                                    )   No.    3:24-cv-619
       v.                                           )
                                                    )
Nathan Tucker,                                      )
in his individual capacity, and                     )
Warden Daniel Monti,                                )
in his official and individual capacities,          )
                                                    )
                                                    )
        Defendant.                                  )
                                                    )

            MOTION FOR LEAVE TO WITHDRAW APPEARANCE OF EMILY HIRSCH

            Plaintiff hereby moves this Court for leave to withdraw the appearance of attorney Emily

 Hirsch as counsel for plaintiff in this matter and in support states:

            1.      Ms. Hirsch entered her appearance in this matter on March 7, 2024 (Dkt. No.

 6).

            2.      Ms. Hirsch’s last day of employment at the Uptown People’s Law Center is

 May 31, 2024.

            3.      Plaintiff will continue to be represented by attorneys from Uptown People’s

 Law Center.


            WHEREFORE, the undersigned respectfully requests that her appearance as counsel of

 record be withdrawn and that she be removed from the Electronic Case Filing Service List.


                                                               Respectfully Submitted,

                                                               /s/ Emily Hirsch
                                                               One of Plaintiff’s attorneys
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Alan Mills – alan@uplcchicago.org
Nicole Schult – nicole@uplcchicago.org
Emily Hirsch – emily@uplcchicago.org
Uptown People’s Law Center
4413 N. Sheridan
Chicago, Illinois 60640
(773) 769-1411



                             CERTIFICATE OF SERVICE

      I, Emily Hirsch, certify that I served this foregoing Motion for Leave to Withdraw
Appearance to all counsel of record by filing the same through the CM/ECF system.

                                                          /s/ Emily Hirsch




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